Case 3:23-cv-05069-RJB Document 46-11 Filed 02/08/24 Page 1 of 5




                  EXHIBIT 11
                        Case 3:23-cv-05069-RJB Document 46-11 Filed 02/08/24 Page 2 of 5




                                        ORGANIZATIONAL HANDBOOK
                  Including Corpora, the By-Laws, Corporate Policies, and the Articles of Incorporation




                                                            Revised August 12, 2018



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                                                                           SCA_000259
             Case 3:23-cv-05069-RJB Document 46-11
                                               August Filed  02/08/24
                                                      12, 2018 Revision Page 3 of 5

     procedures.
     3.     All combatants must be presented to, and be acceptable to, the Sovereign or his or her
     representative.
     4.     All combatants shall adhere to the appropriate Armor and Weapons Standards of the
     Society, and to any additional standards of the kingdom in which the event takes place. The
     Sovereign may waive the additional kingdom standards.
     5.     The Sovereign or the Marshallate may bar any weapon or armor from use upon the field of
     combat. Should a warranted Marshal bar any weapon or armor, an appeal may be made to the
     Sovereign to allow the weapon or armor.
     6.     Combatants shall behave in a knightly and chivalrous manner, and shall fight according to
     the appropriate Society and Kingdom Conventions of Combat.
     7.     No one may be required to participate in Combat-Related Activities. Any combatant may,
     without dishonor or penalty, reject any challenge without specifying a reason. A fight in a
     tournament lists is not to be considered a challenge, and therefore may not be declined or rejected
     without forfeiting the bout.
     8.      Fighting with real weapons, whether fast or slow, is strictly forbidden at any Society event.
     This rule does not consider approved weaponry that meets the Society and kingdom standards for
     traditional Society combat and/or Society rapier combat, used in the context of mutual sport, to be
     real weaponry.
     9.     No projectile weapons shall be allowed and no weapons shall be thrown within the Lists of a
     tournament. The use of approved projectile weapons for melee, war, or Combat Archery shall
     conform to the appropriate Society and Kingdom Conventions of Combat.

C.   Royal Lists
     Only Chivalric (rattan) combat shall be used for formal tournament lists for royal ranks.

X.   GRIEVANCES AND SANCTIONS
A.   General
     1.     While the Society is devoted to courtesy, trustworthiness, and personal responsibility,
     tensions and disputes do arise.
     2.       The Board is the final court of appeal for disputes that have escalated beyond the ability of
     the participants or the officers to handle. However, it is reluctant to play that role because its rulings
     affect the entire Society –often by restricting everyone’s freedom and reducing their enjoyment of
     the organization. Corpora provides a right of appeal to the Board, but members should make every
     effort to work out their disputes at as low a level in the organization as possible.
     3.     While it is not possible to prescribe a specific list of things to do or people to consult that will
     serve in all disputes, the general procedure outlined here should be adaptable to most of them. If
     you are directly involved in a dispute, you must go through a process at least as comprehensive as
     this one before asking the Board for help. If you are asked to intervene in someone else’s dispute
     because of the office or title you hold, please don’t rush in. First, urge the principals to try all
     measures recommended for attempting to reach a settlement without involving your level of the
     organization. Then, if you do intervene, make every effort to find a resolution the participants can
     accept, instead of escalating the dispute to higher levels of the organization.




                                                  Page 37
                                               SCA_000295
                  Case 3:23-cv-05069-RJB Document 46-11
                                                    August Filed  02/08/24
                                                           12, 2018 Revision Page 4 of 5

         Every member of the SCA is eligible for office and advancement within the SCA, subject to the
         requirements for such office or such advancement, and to the provisions established above.
         However, while a group or institution may obtain a membership in order to obtain the newsletters
         and/or increase its support of the SCA, such membership does not convey the privileges of
         membership to persons associated with that group or institution. Employment by the SCA as staff,
         as a contractual agent of the SCA, or as a paid consultant to the SCA does not require membership
         in the SCA.
      b. Eligibility for Office.
         Officers at all levels of the SCA must be members and must have immediate access to the
         corporate newsletter for their area. This standard also applies to deputies designated as successors
         to officers subject to this provision, or assigned independent administrative duties. Deputies who
         only assist with specific tasks are exempt from the newsletter access requirement.

3.       Revocation/Denial of Membership
Membership in the SCA may be revoked and/or denied as provided in Paragraph C.1 of this Article for the
following reasons:
         a.      conviction of violation of civil or criminal law
         b.      actions that endanger the SCA;
         c.      violation of the By-Laws or Corpora of the SCA;
         d.    formal recommendation arising out of procedures for the purpose defined in Corpora for the
         medieval structure of the SCA.

4.       Reservations to the Board
The Board shall have the sole authority to define the classes of membership and to establish and revise a
schedule of dues. No dues may be set by any branch of the SCA. However, fees for admission to events
other than regular business meetings of branches of the SCA shall not be considered dues.

VI.      BOARD OF DIRECTORS

A.       Powers
Subject to the provisions of the California Nonprofit Corporation Law, the activities and affairs of the SCA
shall be managed and all corporate powers shall be exercised by or under the direction of the Board of
Directors, herein referred to as the Board. The Board may delegate management of the day-to-day
operation of the business of the SCA provided that the activities and affairs of the SCA shall be managed
and all corporate powers shall be exercised under the ultimate direction of the Board subject to the
limitations in the Articles of Incorporation.

B.       Number of Directors
The authorized number of Directors of the SCA shall not be less than five (5) or more than seven (7) until
changed by amendment of this Article of the By-Laws.

C.       Qualifications of Directors
Each Director shall be a natural person at least 21 years of age, and shall be qualified for independent
office under V.C.2.a. of these By-Laws.
It is the intent of the SCA that the composition of the Board shall represent a diversity of skills and
experience, to enable the Board to make informed, well-balanced decisions on the SCA’s activities.




                                                        Page 46
                                                    SCA_000304
                Case 3:23-cv-05069-RJB Document 46-11
                                                  August Filed  02/08/24
                                                         12, 2018 Revision Page 5 of 5

D.     Restriction on Interested Directors
1.     No Director may hold any office defined by the Governing Documents to be incompatible with active
service on the Board. Any Director planning to take such an office must resign from the Board immediately
upon committing to taking the office.
2.     In addition, not more than forty-nine percent (49%) of the Directors may be ‘interested persons’,
defined as:

       a.     any person compensated by the corporation for services rendered to it within the previous
       twelve (12) months, whether as a full-time or part-time employee, independent contractor, or
       otherwise, excluding any reasonable compensation paid to a Director as a Director; and
       b.      any relative by blood or marriage of any such person. However, any violation of the
       provisions of this section shall not affect the validity or enforceability of any transaction entered into
       by the corporation.

E.     Election and Term
Directors are elected by the unanimous vote of the Board.

1.     Probationary Period
Each Director shall be appointed for an initial trial period, commencing as of the date said Director
assumes his position, and concluding with determination of confirmation by the remaining Directors. This
confirmation shall occur within four (4) months of the end of the second regularly scheduled quarterly
meeting of the Board of Directors following the date said Director assumes his position. If the Director is not
confirmed, the remaining Directors shall appoint someone else to the Board to finish the assigned term, in
which case the new Director is subject to the same initial trial period and confirmation vote as provided for
in this section.

2.     Term of Service
Directors’ terms shall be staggered so that one term ends each six months. Under ordinary circumstances,
Directors shall serve fourteen quarters, dating from the meetings at which they are elected. A Director’s
term begins immediately upon election and acceptance. A Director whose term is expiring may, under
extraordinary circumstances, be retained for up to two additional quarters. Such extensions may only be
made by unanimous vote of the other Directors. The Director affected must abstain from voting, but may
decline to serve. The Board Minutes must describe the circumstances requiring the extension. The
extension shall be considered part of the next full term, and a new Director shall be chosen fill the
remainder of that term. During the period between acceptance and his or her first meeting, a Director shall
receive information routinely distributed to the Board, and shall be bound by its policies regarding the
behavior of Directors. Former Directors of the SCA may not be reelected to the Board until a period of at
least one (1) year has elapsed after their departure from the Board.

3.     Resignation
Should a Director be unable to serve his or her full term, the remaining Directors shall either leave the
position vacant until the end of the term, or elect someone to fill the remainder of the term. Failure to attend
the last meeting of a term or extension for any reason shall be considered equivalent to resignation at the
beginning of that meeting, unless (in the case of a normal term) prior arrangements for an extension were
made by the Board and voted in at the current meeting. As specified in VI.B, the number of active Directors
may not be allowed to go below 5, except during a meeting affected by an automatic resignation resulting
from this paragraph.

F.     Vacancies and Removal
Directors remain on the Board until expiration of their term of service, resignation, or removal. By a majority


                                                    Page 47
                                                SCA_000305
